EXHIBIT 21
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER et al.,                            Case No. 1:25-CV-10910-ADB

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE et al.,

                       Defendants.



                              Declaration of Shoba Ramanadhan

I, Shoba Ramanadhan, hereby declare as follows:

       1.      I am an Associate Professor of Social and Behavior Sciences at the Harvard T.H.

Chan School of Public Health (“HSPH”).

       2.      I hold a ScD from HSPH and an MPH in Health Management from the Yale School

of Public Health.

       3.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       4.      My research focuses on strengthening systems in underserved communities to lev-

erage the best available evidence for cancer prevention and control. I also research issues at the

intersection of climate change and the health of marginalized populations. Much of my work is

conducted in partnership with community-based organizations and coalitions.

       5.      I am a member of the American Association of University Professors (“AAUP”)

and AAUP–Harvard Faculty Chapter.
       6.      I am aware that the Trump administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. I am aware that officials from the Trump admin-

istration sent a letter to Harvard on April 3, 2025 demanding that Harvard immediately take a long

list of actions to remain a recipient of federal funding (the “April 3 Letter”). I am aware that this

was followed by a subsequent letter from Trump administration officials on April 11, 2025 with

more detailed demands that “incorporate[d] and supersede[d] the terms” of the April 3 Letter and

which the Trump administration proposed would serve “as the basis for an agreement in principle

that will maintain Harvard’s financial relationship with the federal government” (the “April 11

Letter,” and together with the April 3 Letter, the “Demand Letters”). Both of the Demand Letters

were made public and I have read the demands listed in the Demand Letters.

       7.       I am aware that, on April 14, 2025, the DOJ Task Force to Combat Anti-Semitism

froze over $2.2 billion in federal grants to Harvard. I understand that the federal government has

since refused to disburse funds obligated to these grants despite receiving requests from Harvard

University to do so.

       8.      I am aware that on May 5, 2025, Secretary of Education Linda McMahon an-

nounced that “Harvard should no longer seek GRANTS from the federal government, since none

will be provided.” I am aware that on May 6, 2025, the National Institutes of Health (“NIH”)

terminated its grants to Harvard. I am aware that on May 9, 2025, the Department of Agriculture

terminated its grants to Harvard. I am aware that on May 12, 2025, the Department of Energy,

Department of Defense, the National Science Foundation, and the Department of Housing and




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Urban Development each terminated their grants to Harvard. Letters communicating each of these

terminations were made public.

          9.    I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of American universi-

ties and making a range of threats about how the federal government intended to use its authority

to impose numerous demands on Harvard University specifically.

          10.   I am aware that Harvard University has pledged $250 million in one-time stopgap

funding to replace some of the more than $2 billion in terminated funds. That amount is far from

sufficient to replace the terminated funds for HSPH.

Research Funding

          11.   I conduct research under five major projects that are fully funded with federal fund-

ing. Four out of five of my federal grants have been terminated or otherwise ended early. My four

terminated grants were funded by the NIH. Work on the projects that were funded by these grants

is expected to stop soon and my department is already helping to plan layoffs for staff on these

grants.

          12.   The first terminated grant funded research about the impact of climate change-re-

lated heat stress on people across the globe. The information we collect for this project is intended

to support the local communities where the research is taking place, but also support other areas

with limited resources to protect communities against heat stress. The work is designed to support

scale-up of successful findings, including dissemination of results to country-level policymakers.

          13.   The second terminated grant funded training of researchers to expand the impact of

their work on local communities and public health systems. The project focuses on social




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determinants of health, e.g., education and housing, to develop sustainable, high-impact solutions

to cancer inequities. The project is conducted in partnership with local community members.

       14.     The third terminated grant funded cancer-focused outreach to immigrant, refugee,

and racial/ethnic minority communities. This project also trains students from under-represented

minority backgrounds to support them in pursuing research careers focused on cancer and other

health inequities. The main grant is held by the Dana Farber Cancer Institute and HSPH has a

subaward. The workforce development programs funded by this grant bring minorities into the

public health field. Losing this grant will impact who ultimately goes on to work in the field.

Discouraging minorities from entering this space will negatively impact quality of care in margin-

alized communities.

       15.     The fourth terminated grant supported academics across Harvard-affiliated hospi-

tals, HSPH, and Harvard Medical School to translate their research into programs, practices, and

policies that can be implemented widely. The component of the project I support engages commu-

nity leaders from underserved communities to help design and execute research projects that are

likely to be high impact in their communities.

       16.     The termination of four of my federal grants is devastating for my research. I work

closely with communities that have been subject to discrimination in the United States, such as

racial and ethnic minorities and LGBTQ+ groups. Given historical and current abuses of power,

these communities are understandably skeptical of scientists and academic researchers. It can take

us anywhere from 5 to 15 years to build the requisite trust and relationships with a community and

partner on research. In my work, the relationships we have cultivated with leaders and community

members in these marginalized communities are the result of 15 years of federal investment in the

projects.




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       17.     A long term loss of federal funding will irreparably harm our research and force us

to start again at zero. We will not be able to honor our existing commitments to the communities

we serve. If people in these communities believe that we are walking away from our agreements

to support them, we will lose much of the trust that we have spent the last 15 years building.

       18.     I will not be able to obtain private foundation funding to replace my terminated

federal funding. Foundation grants are narrower and for smaller amounts than federal grants. Many

researchers are turning to private funding given the current state of federal funding for the sciences,

making the environment for private foundation grants even more competitive than it has been in

the past. Colleagues working in community-based organizations have also highlighted the concern

that academic researchers will now be competing for funds typically reserved for local organiza-

tions, which has the potential to increase inequities further.

       19.     My team supports local organizations to use evidence-based interventions for can-

cer prevention and control. If we cannot complete our projects, people in the communities we serve

will not be supported to engage in cancer prevention activities, such as breast cancer screening or

vaccination against HPV. That is a real physical harm. Without my team’s work, misinformation

and disinformation may fill the void, further harming affected communities.

       20.     The loss of federal funding for my research and at the School of Public Health

generally is also devastating for students. My colleagues and I have had to rescind offers of em-

ployment for students at the Masters and Doctoral levels, due to the abrupt termination of funding.

This has negative consequences for their livelihood and for their long-term career prospects.

       21.     Terminating the grants that fund my research impacts three generations of scientists

at Harvard. There are graduate students at Harvard on these terminated grants, who have lost out

on valuable training opportunities, from conducting research to publishing papers and presenting




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findings at scientific conferences. Losing our grants also means we lose the ability to support post-

doctoral fellows because we rely on federal grants to cover their stipends and tuition.

       22.     Finally, for faculty who are working towards tenure (as I am), the loss of federal

funding for public health research restricts the ability to create the type of broad, high-impact pro-

gram of research required for tenure. As noted above, private funding is a limited alternative, and

given the large number of researchers suddenly turning towards the same, limited pool of re-

sources, it is likely that many academics will have to leave the field. This is particularly true for

individuals working in areas disfavored by this administration, e.g., LGBTQ+ health. An entire

cohort could lose the opportunity to become tenured because of these cuts, which puts the future

of public health training and leadership at risk and risks skewing the field away from topics related

to equity and diversity.

Impacts on Speech and Academic Freedom

       23.     Health equity is central to the classes I teach on implementation science and quali-

tative analysis. There is no accurate language that I can use in my courses that does not use terms

disfavored by the Trump administration, such as LGBTQ, discrimination, minority and more. I

cannot change the language that I use in my work to comply with the Trump administration's

priorities. If I am not able to use terminology disfavored by the Trump administration, I will not

be able to teach or conduct research effectively.




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I declare under penalty of perjury under the laws of the United States of America that the foregoing

is true and correct.

Dated: June 2, 2025                                  Signed:

                                                     Shoba Ramanadhan
                                                     Associate Professor of Social and Behavior
                                                     Sciences
                                                     Harvard T.H. Chan School of Public Health




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